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       EXHIBIT G
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                  M21123

                     3.2Gbps 24 Port Reconfigurable Non-Blocking
DEVICE OVERVIEW




                     Crosspoint Switch

                     The M21123 is a very low power, reconfigurable, 24 port, non-blocking
                     digital crosspoint switch. The device is optimized for power and
                     performance for data frequencies of up to 3.2Gbps, including Serial
                     Digital Interface (SDI) video data rates.
                     The M21123 is designed to provide the designer with the utmost
                     choice and flexibility. With 18 reconfigurable input/output ports and 6
                     dedicated output ports, it may be used to create any square and non-
                     square matrix size, from 18x6, to 12x12, to 1x23 and every size in
                     between.
                     The M21123 includes signal conditioning to compensate for losses
                     accumulated across long board traces, making it ideal for high speed
                     backplane switching applications. Each input/output port features
                     individually programmable trace equalization when configured as an
                     input, and individually programmable de-emphasis and output swing,
                     when configured as an output. The dedicated output ports have
                     individually programmable de-emphasis and swing control.                              > The M21123 is Ideal For
                     For lowest power consumption and ease of heat dissipation
                     management, the device may be powered from a single 1.2V supply.
                     For ease of design and when DC coupling to a voltage other than 1.2V                     Signal switching
                     is desired, the high speed input and output ports, as well as the digital
                     interface, may be powered from a 1.2V, 1.8V, 2.5V or 3.3V supply.                        Fanout buffers
                     Furthermore, the input/output ports include on-chip 50Ω termination
                     and are electrically isolated from one another, allowing each to be                      Backplane equalizing and
                     powered from and terminated to a different voltage rail. This provides
                                                                                                               re-driving
                     additional flexibility as each port on the device may be DC coupled to
                     up-stream and down-stream devices with different voltage rails.                          3G/HD/SD-SDI switchers
                     The M21123 is offered in a green and RoHS compliant 88-pin QFN
                     package.                                                                                  and routers


                                    IE & Loss of Signal Detection
                          AVDDIO0
                                                                          Crosspoint
                                                                             Core
                             DIO0                           IE                          DE
                                                                                        & Prog.
                                                                                        Swing     DOUT18
                                                                 DE
                                                                                        Ctrl

                                        DE & Programmable Swing Control




                                    IE & Loss of Signal Detection
                         AVDDIO17
                                                                                        DE
                                                                                        & Prog.
                            DIO17                           IE                          Swing     DOUT23
                                                                                        Ctrl
                                                                 DE


                                        DE & Programmable Swing Control




                                          Configuration & Control Registers            JTAG



                                                     M21123 Block Diagram
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                                     Features                                                                              Benefits
                                 6 fixed outputs and 18 reconfigurable IOs                                                 Customized square and non-square matrix size
                                 Per port individually programmable input equalization and
                                                                                                                           Compensate for signal losses across various trace lengths
                                 output de-emphasis
                                 Per port individually programmable output swing control                                   Optimized power consumption and performance for each
T E C H N I C A L D ET A I L S


                                                                                                                           application
                                 Per port individual powerdown control                                                     Optimized power consumption for variety of applications
                                 Very low power operation (65 mW per channel @1.2V)                                         Ease of thermal management and reduced cost of operation
                                 DC and AC coupling at the input and output with
                                                                                                                           Design and layout flexibility
                                 integrated level shifter
                                 Integrated 50Ω input and output termination                                               Ease of design and layout and improved signal integrity
                                 Loss of Signal detection at the input                                                     Diagnostic and debug feature
                                 Standard 2-wire and 4-wire serial digital interface                                       Flexible control and configuration
                                 Industrial Operation Temperature range of -40°C to 85°C                                   Robust Operation under a wide range of conditions
                                                                               AVDDCORE




                                                                               AVDDCORE
                                                                               AVDDIO5




                                                                               AVDDIO4



                                                                               AVDDIO3
                                                                               AVDDIO2



                                                                               AVDDIO1




                                                                               AVDDIO0
                                                                               DIO5N



                                                                               DIO4N



                                                                               DIO3N




                                                                               DIO2N



                                                                               DIO1N



                                                                               DIO0N
                                                                               DIO5P



                                                                               DIO4P



                                                                               DIO3P




                                                                               DIO2P



                                                                               DIO1P



                                                                               DIO0P

                                                                               MF3
                                                                               MF4
                                                                               88 87 86 85 84 83 82 81 80 79 78 77 76 75 74 73 72 71 70 69 68 67
                                                             DVDDCORE      1                                                                    66         MF5
                                                              AVDDIO6      2                                                                    65         MF1
                                                               DIO6P       3                                                                    64         DOUT23P
                                                               DIO6N       4                                                                    63         DOUT23N
                                                             AVDDCORE      5                                                                    62         AVDDO22-23
                                                               DIO7P       6                                                                    61         DOUT22P
                                                               DIO7N       7                                                                    60         DOUT22N
                                                              AVDDIO7      8                                                                    59         AVDDCORE
                                                               DIO8P       9                                                                    58         DOUT21P
                                                               DIO8N      10                                                                    57         DOUT21N
                                                              AVDDIO8     11                                                                    56         AVDDO20-21
                                                              AVDDIO9     12                                                                    55         DOUT20P
                                                               DIO9P      13                                                                    54         DOUT20N
                                                               DIO9N      14                                                                    53         DVDDIO
                                                             AVDDIO10     15                                                                    52         AVDDCORE
                                                              DIO10P      16                                                                    51         DOUT19P
                                                              DIO10N      17                                                                    50         DOUT19N
                                                             AVDDCORE     18                                                                    49         AVDDO18-19
                                                              DIO11P      19                                                                    48         DOUT18P
                                                              DIO11N      20                                                                    47         DOUT18N
                                                             AVDDIO11     21                                                                    46         MF0
                                                             DVDDCORE     22                                                                    45         MF2
                                                                               23 24 25 26 27 28 29 30 31 32 33 34 35 36 37 38 39 40 41 42 43 44
                                                                               AVDDIO12
                                                                                DIO12N
                                                                                DIO12P
                                                                               AVDDCORE
                                                                                DIO13N
                                                                                DIO13P
                                                                               AVDDIO13
                                                                                DIO14N
                                                                                DIO14P
                                                                               AVDDIO14
                                                                               AVDDIO15
                                                                                DIO15N
                                                                                DIO15P
                                                                               AVDDIO16
                                                                                DIO16N
                                                                                DIO16P
                                                                               AVDDCORE
                                                                                DIO17N
                                                                                DIO17P
                                                                               AVDDIO17
                                                                                   MF7
                                                                                   MF6




                                                                                                       M21123 Pinout
                                                          Device Paddle
                                                              GND




                                           Package (RoHS Compliant)
                                           12mmx12mm 88 pin QFN Package




                                                                                                                         For more product information, please visit www.mindspeed.com


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